U.S. Department of Homeland Security
U.S. Citizenship and Immigration Services

September 4, 2018 75 Lower Welden St.
St. Albans, VT 05479

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c/o BEATA WEISS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

RE: YOUNGSOO YANG
1-129, Petition for a Nonimmigrant Worker

DECISION

Dear Sir/Madam,

On April 12, 2018, you filed a Form I-129, Petition for a Nonimmigrant Worker with U.S. Citizenship
and Immigration Services (USCIS) to classify the beneficiary under section 101(a)(15)(E)(iii) of the
Immigration and Nationality Act (the Act).

Section 101(a)(15)(E)(iii) of the Act relates to an alien:

-entitled to enter the United States under and in pursuance of the provisions of a treaty of commerce
and navigation between the United States and the foreign state of which he is a national ... Solely to
perform services in a specialty occupation in the United States if the alien is a national of the
Commonwealth of Australia and with respect to whom the Secretary of Labor determines and certifies
to the Secretary of Homeland Security and the Secretary of State that the intending employer has filed
with the Secretary of Labor an attestation under section 212((1).

Section 101(a)(15)(H)(i)(b) of the Act defines such a beneficiary as an alien:

--who is coming temporarily to the United States to perform services...in a specialty occupation
described in section 214(i)(1)..., who meets the requirements for the occupation specified in
section 214(i)(2)..., and with respect to whom the Secretary of Labor determines and certifies to
the Attorney General that the intending employer has filed with the Secretary an application
under 212(n)(1).

Furthermore, section 212(n)(1) of the Act states:

No alien may be admitted or provided status as an H-1B nonimmigrant in an occupational
classification unless the employer has filed with the Secretary of Labor an application stating
the following:

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(A) The employer-

(i) is offering and will offer during the period of authorized employment to aliens
admitted or provided status as an H-1B nonimmigrant wages that are at least-

(1) the actual wage level paid by the employer to all other individuals with
similar experience and qualifications for the specific employment in
question, or

(II) the prevailing wage level for the occupational classification in the area of
employment, whichever is greater, based on the best information available as
of the time of filing the application...

Title 8 Code of Federal Regulations (8 CFR), section 214.2(h)(4)(i) states in part:
(B) General requirements for petitions involving a specialty occupation.

(1) Before filing a petition for H-1B classification in a specialty occupation, the
petitioner shall obtain a certification from the Department of Labor that it has filed a
labor condition application in the occupational specialty in which the alien(s) will be
employed.

Title 20 Code of Federal Regulations (20 CFR), section 655.705(b) states in pertinent part:

.., DHS accepts the employer's petition (DHS Form 1-129) with the DOL-certified LCA
attached. In doing so, the DHS determines whether the petition is supported by an LCA which
corresponds with the petition, whether the occupation named in the labor condition application
is a specialty occupation or whether the individual is a fashion model of distinguished merit and
ability, and whether the qualifications of the nonimmigrant meet the statutory requirements for
H-1B visa classification.

Your architectural firm seeks to employ the beneficiary as an Architectural Designer at an annual
salary of 48,000. Based on information provided, your business was established in 1982 and currently
employs 25 workers. Included in your initial filing is an ETA 9035 Labor Condition Application
(LCA) certified by the Department of Labor (DOL) for the position of Architectural Designer under
the Architects, Except Landscape and Naval occupational title in Boston, MA. The LCA lists the
prevailing wage source as the 2018 Dietrich Surveys: Dietrich Architectural Salary Survey, which
appears to be an independent authoritative source.

At issue is whether the petition is supported by an LCA which corresponds with the offered position.
USCIS does not use a position title alone in determining whether the position certified on the LCA
relates to the offered position; the agency reviews the educational and experience requirements,
individual job duties and specific function, and supervisory duties, if any, of the offered position.
With the initial filing, you submitted the following description of duties for the offered position:

e Prepare detailed designs of architectural and structural features of buildings, interior and
exterior spaces for architectural projects;

« Participate in meetings and communicate with clients about various aspects of the proposed
projects, including objectives, requirements and budget;

e Brainstorm creative design plans;

e Develop models utilizing computer software;

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e Interact with others designers and architects;

e Present design proposals;

e Accompany licensed architect(s) to worksite to ensure that construction projects adhered to
architectural plans; ad

e Follow up with design work as building processes.

On May 24, 2018, USCIS informed you in a Request for Evidence (RFE) that the initial evidence did
not establish that your petition was supported by an LCA which corresponded with the offered
position described in the petition. You were requested to submit evidence to demonstrate that the
occupation listed in the independent authoritative source was comparable to the offered position.

On August 16, 2018, USCIS received your response, which included:

e Your attorney's letter of response;

« Copy of the letter from the Alien Prevailing Wage Determination, Inc.;

e Excerpts from the 2018 Dietrich Architectural Salary Survey; and

e A support letter from Warren R. Schwartz, FAIA from Schwartz/Silver Architects, Inc.

Your response is insufficient to establish that your petition is supported by an LCA that corresponds
with the offered position described in the petition. .

As indicated in Matter of Simeio Solutions, LLC, 26 [&N Dec. 542 (AAO 2015), USCIS must
determine whether the attestations and content of the LCA correspond to and support the H-1B visa

petition.

In your response you have provided an excerpt of the 2018 Dietrich Architectural Salary Survey
prevailing wage survey for the position of a Junior Designer - A which falls under the Architectural
Drafting and Design category. The prevailing wage survey describes the following roles and
responsibilities for the position of a Junior Designer-~ A:

Perform routine architectural design and provides office support for projects. Assist in
preparation of design and construction documents, correcting and updating drawings.

In considering the description of the occupation as listed in the Junior Designer - A and the totality of
the evidence in the record, it does not appear that the offered position comports with the description
for the occupation as certified on the LCA. A detailed analysis of the evidence provided in relation to
that description follows.

The 2018 Dietrich Architectural Salary Survey indicates that a Junior Designer - A under the
Architectural Drafting and Design category does not encompass many of the duties you have
described for the offered position of an Architectural Designer with your company, For example, you
indicate that an Architectural Designer will participate in meetings and communicate with clients about
various aspects of the proposed projects, including objectives, requirements and budget; present design
proposals; accompany licensed architect(s) to worksite to ensure that construction projects adhered to
architectural plans; and follow up with design work as building processes. These duties appear to
encompass a great deal of project responsibilities that a Junior Designer - A does not include.
Furthermore, it is more apparent that the offered position is more closely related to that of an
Architect | under the Architectural Services category, which states:

Entry level of professional work requiring a bachelor's degree in architecture and no

experience, or degree equivalent education and experience. Works under close supervision;
receives specific and detailed instructions regarding tasks and expected results. Performs

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elementary architectural assignments and works from designs of others, compile data, performs
elementary design computations, makes quantity takeoffs and prepares estimates, prepares
architectural plans/renderings, and inspects architectural features of structures in field,

As an Architectural Designer with your company is more involved with the project than merely
performing routine design and office support. While the letter of support from Warren R. Schwartz,
FAIA from Schwartz/Silver Architects, Inc. indicates that the duties and responsibilities of a Junior
Designer - A and an Architect 1 overlap to a degree, the offered position includes duties that appear to
be beyond those of a Junior Designer - A. Absent a detailed job description to include a breakdown
of the time spent on each duty, the educational requirements for these duties and an explanation of
how the beneficiary’s education relates to the position and a comparison of those duties to those as
described in the 2018 Dietrich Architectural Salary Survey, it is not apparent that the offered position
is comparable to that of a Junior Designer - A.

In support of your petition, you submitted a certified LCA for the position of Junior Designer - A
under the Architectural Drafting and Design category at a 2018 Dietrich Architectural Salary Survey.
As discussed above, you have not established that the offered position requires the performance of
similar duties and responsibilities or is similar in scope and responsibility to an Architect - 1.

The record does not establish that the petition is supported by an LCA which corresponds with the
offered position described in the petition as required by 20 CFR 655.705(b) and Matter of Simeio
Solutions.

If applicable, the portion of the petition requesting an extension of stay or change of status for the
alien is now being denied as the nonimmigrant petition filed in the alien’s behalf has been denied.

In addition, as the Petitioner did not demonstrate that the petition is supported by an LCA which
corresponds with the offered position described in the petition; USCIS need not fully address other
issues evident in the record. That said, USCIS wishes to identify additional issues to inform the
Petitioner that these issues need to be addressed in any future proceedings; the evidence of the record
does not sufficiently demonstrate that the offered position qualifies as a specialty occupation.

If you disagree with this decision, or if you have additional evidence that shows this decision is
incorrect, you may file a motion or appeal of this decision by completing a Form I-290B, Notice of
Appeal or Motion. You may also include a brief or other written statement in Support of your appeal.
The appeal must be filed within 33 days from the date of this notice. If an appeal or a motion is not
filed within 33 days, this decision is final.

You must send your completed Form 1-290B and supporting documentation with the appropriate
filing fee to:

USCIS 290B
PO Box 21100
Phoenix AZ 85036

To obtain the Form I-290B, visit www.uscis.gov/forms. For the latest information on filing location,
fee, and other requirements, refer to the Form I-290B instructions; review 8 CFR 103.3 or 103.5; call
our USCIS Contact Center at 1-800-375-5283; or visit your local USCIS office.

Sincerely,

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